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                ln the U nited States D istrict C ourt
                for the Southern D istrlèct ofF lorida

    lvan R.FREITES C                            M r.Orlando V IEM -BLAN CO
    Guillerm o ZARRAGA                          M r.Gustavo E.LAINETTE
    EladioM ATA                                 M r.JoseV.CARRASQUERO
    GustavoRODY GUEZ                            John Doe 1(@ douglasarrecho);
    JoseVILLASANA                               Jolm Doe2 (@ lucioquincioc);
    Juan M ARTINEZ                     v.       Jolm Doe3(@ turgelles);
    CarlosM ARQUEZ                              Jolm Doe4 (Leaker)
    JesusCARRILLO                               Jolm Doe5(@ zurichtg4)
    MiguelE.OTERO                               Jolm Doe6(@bea-libertad);
    JorgeAlejandroRODRIGUEZ                     Jolm Doe (@ canadiensedevzl);
                        Plaintiffs,            FILED By     t          n.c. efendants,

                                                    22T 2 2029
                                                    ANGELAE.NOBLE
                                                    S.D.OFFLA.-MIAMI


   C O M PL A IN T FO R violation of the R acketeer lnnuenced and C orrupt
   OrganizationsAct(RICO),Invasion ofPrivacy (PublicDisclosureofPrivate
   Facts); Negligence; Breach of Fiduciary Duty; violation of FederalW ire
   Fraud Statute; violation of Comm unications Decency Act (CDA); Civil
   C onspiracy; C onspiracy to V iolate C ivil R ights; D efam ation of C haracter,
   IntentionalInniition ofEm otionalDistress(lIED).


                              D em and For Jury Trial
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  C O M PL M N T

  Plaintiffs respectfully tile this Com plaint, acting pro se,against Defendants for
  violation of the    R acketeer Innuenced and C orrupt O rganizations A ct
  (RICO), violation of Privacy, violation of Federal W ire Fraud Statute,
  violation ofCom m unicationsDecency Act(CDA),Conspiracy to ViolateCivil
  Rights, D efam ation of Character, and other violations to Federal and State
  Law s.Plaintiffsdem and foraJury Trial. Plaintiffsallege asfollow s:


  1.INTROD UCTIO N

  This action arises out of D efendants' coordinated efforts to harm the Plaintiffs,
  who have been advocating for the collective benefitofunionized w orkers as well
  as for their own rights in differentcourts both in the United States as w ellas in
  othercountries and intem ationalcourts.These actionsfrom D efendantsincludethe
  coordinated production and broadcasting of defam atory and dam aging m aterial,
  violation of privacy, cooçdinated aggravated defam ation,a11in violation of State
  and Federallaws,actionswhich have caused irreparable harm to the Plaintiffsand
  theirfam ilies.
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  II.PA R TIES


  PLA IN T IFFS:

  Plaintiffs are tm ion m em bers, representatives, advocates for w orkers'rights,and
  freedom of expression activists engaged in ongoing litigation in courts in the
  U nited States, the lnteram erican Hum an Rights Courts,and other international
  proceedings.

  Plaintiff lvan R . FREITES C. is a recognized Venezuelan union leader and
  w orkers'rightsadvocate residing in the State ofFlorida.



  PlaintiffG uillerm o ZARRAG A isarecognized Venezuelan union leaderand
  workers'rightsadvocateresiding outsidetheStateofFlorida.M r.ZARRAGA was
  recently released from politicalimprisonm entin Venezuela in exchangefora
  num berofU S citizensimprisoned in Venezuela,m ostofthem executivesofoi1
  corporation CITG O Petrolellm C orporation.M r.ZA RR A G A w as incarcerated by
  the Venezuelan regim e ofN icolasM aduro in N ovember16th,2020 and released in
  Decem ber20th,2023.


  PlaintiffEladio M ATA isarecognized Venezuelan union leaderand workers'
  rights advocate residing outside the State ofFlorida in A tlanta,G eorgia. M .
                                                                               r.
  M ATA survivedan assasination attack (shotinthechest)pep etratedby PDVSA
  agentsin Venezuelawhilein hisdutiesasunion leaderforthe Sindicato deObreros
  de laA lcaldiaM etropolitana de Caracas.
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  PlaintiffG ustavo R O DRIG UEZ M O TA isarecognized Venezuelan union
  leaderand workers'rightsadvocateresiding in the State ofFlorida. M r.
  RODRIGUEZ M OTA had to forcefully fleehishom ecountry due to lifethreatsdue
  to hisdutiesasunion leaderforthe Sindicato de Em pleadosde laA lcaldia
  M etropolitana deCaracas.


  PlaintiffJoseVILLA SA NA isa recognized Venezuelan union leaderand
  workers'rightsadvocateresidingin tlteStateofFlorida. M r.VILLASANA had to
  forcefully flee his hom ecotm try due to life tlzreatsrelated to his duties as tm ion
  leaderfortheSindicatodeTrabajadoresde1Aluminio(SINTRALUM).

  PlaintiffJuan M ARTINEZ isarecognized Venezuelan union leaderand
  w orkers'rightsadvocate residing outsidethe StateofFloridain Spain.M r.
  M ARTINEZ had to forcefully fleehishom ecountry dueto lifethreatsrelated to
  hisdutiesasunion leaderfortheSindicatodeTrabajadoresdeSINCOR Oriente-
  Anzoategui(SINTM SINCORAN).

  PlaintiffCarlosM ARQUEZ isarecognizedVenezuelan union leaderand
  workers'rightsadvocateresiding outsidetheStateofFloridain Spain.M r.
  M ARQUEZ hadtöforcefully tleehishomecounA dueto lifethreatsrelatedto
  hisdutiesasunionleaderfortheSindicatodeTrabajadoresdeSW COR Oriente-
  Anzoategui(SW TRASINCORAN).

  PlaintiffJesusCARRILLO isabluecollartm ionized oi1w orkerresiding outside
  the State ofFlorida,victim ofabuse and harm edby PetroleosdeVenezuela S.A .
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  PlaintiffM iguelE.O XERO isaworldw iderecognized new spapereditorand
  advocate offreedom ofpress residing in aforeign country.


  Plaintiff Jorge Alejandro RODRIGUEZ is a businessman and advocate for
  w orkers'rightsw ho resides in a foreign countly


  DEFEN DA NTS:

  Defendant O rlando V IER A-BLANC O, a Florida resident, broadcasted
  statem ents that either violated Plaintiffs'privacy through socialm edia,including
  revealing their m igration status and identities in violation of court orders, to
  perjudicate theongoing advocacy and litigation inFederalCourtsby defamation of
  Plaintiffs. This reckless disclosure exposed Plaintiffs to severe risks, including
  threats to their lives and freedom ,property dam age,physical ahd psychological
  dam age and the need to go into hiding due to credible threats in Venezuela.
  According to officialpublicrecordsthe addressofdefendantis:
                                               M r.Orlando VIER A-BLAN CO

                                               5223N W 94th D oralP1.

                                               D oral,FL 33178
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  D efendant G ustavo L A IN E TT E, a Florida resident,broadcasted through social
  m edia a num ber ofprofessionally produced def>m atory videos againstPlaintiffs,
  presum ably produced by him self in combination w ith otherunknow n individuals;
  as w ellas other defam atory content. This reckless disclosure exposed Plaintiffs to
  severe risks, including threats to their lives and freedom , property dam age,
  physicaland psychologicaldam age and the need to go into hiding due to credible
  threats in Venezuela. D efendant LAW ETTE has a crim inél record in Florida.
  A ccording to officialpublicrecordsthe addressofdefendantis:
                                               M r.Gustavo E.LAINETTE

                                               1550 N E 168th St

                                               Apt208

                                               N orth M iam iB each,FL 33162


  Defendant Jose Vicente CARRASQUERO, a Florida resident, broadcasted
  defam atory statem ents that violated Plaintiffs' privacy through social m edia,
  including revealing theirm igration statusand identitiesin violation ofcourtorders,
  broadcasted through socialm edia a m lmberofprofessionally produced defam atory
  videos against Plaintiffs, a11 in a coordinated eflbrt to harm the reputation of
  Plaintiffs and the ongoing advocacy and litigation in FederalCourtsby defam ation
  of Plaintiffs.This reckless disclosure exposed Plaintiffs to severe risks,including
  tlzreats to their lives and freedom ,property dam age,physical and psychological
  dam age and the need to go into hiding due to credible threats in Venezuela.
  A ccording to ofticialpublicrecordsthe addressofdefendantis:
                                               M r.JoseV.CARRASQUERO

                                               3800 H illcrestD rA pt902
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                                              Hollywood,FL 33021

   D efendants controlled or co-opted various socialm edia broadcasters and entities
   to assist in their illegal activities. This includes, am ong others, the em ail
   distribution accounts and databases of institutions to which they are linked by
   m em bership,directorship or sim ilar;am ong othersthese include the socialm edia
   accountsofVen America(Venezolanosy Americanos,1nc.),aFloridaCorporation
   presided by Defendant Orlando VIER A-BLAN CO, and Resistencia Venezolana
   Corp.,an inactive Florida corporation presided by D efendantGustavo LA W ETTE.
   A num ber of individuals collaborated by Defendants to participate in these
   activities.

  A number of addiiional co-conspirators collaborated in the broadcasting and
  distribution ofanum berofdam aging videosand statem ents.

  The John DOE Defendants are individuals responsible for the propagation of
  damagingpoststlzroughtheX (formerly Twitter)accountsof:

   Jolm Doe1(l douglasarrecho);Defendant

   Jolm Doe2(@ lucioquincioc);Defendant

   JohnDoe3 (@ turgelles);Defendant

   JohnDoe5 (l zurichtg4);Defendant

   John Doe6(@ beatrizgarcia);Defendant

   John Doe7(@ linocarrillo);Defendant
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   W hose identitk ation isyetto be confirm ed orinvestigated by Plaintiffs.


   TheJohn Doe 4 (Leaker)Defendantis(are)theindividualts)thatprovided sealed
   inform ation to DefendantsVIERA-BLANCO,LAW ETTE and CARRASQUERO
   in orderto be dissem inated,theidentity ofsaid John Doe4 (Leaker)Defendantis
   yetto be determ ined.

    111.JURISDICTIO N AND VEN UE


   ThisCourthasjurisdictionpursuantto28U.S.C.j 1331(federalquestion
   jurisdiction)asthisaction arisesunderfederalstatm es,includingtheRacketeer
   lnfluenced andCom lptOrganizationsAct(R1CO)18U.S.C.jj 1961-1968,      *the
    18U.S.C.j 1512 Tamperingwith aW itness,Victim,orlnformant;the 18U.S.C.
    j 1343Violation ofFederalW ireFraud Statute;18U.S.C.j 1513 Retaliation
   AgainstaW itness,Victlm,orlnformant;18U.S.C.j2261A InterstateStalking;
   CommunicationsDecency Act,47U.S.C.j230;theCivilRightsAct,42U.S.C.j
    1985.


    Venueisproperin thisDistrictunder28U.S.C.j 1391(b)becauseasubstantial
   partofthi eventsgiving rise to thisaction occurred in thisDistrict,and
    Defendantsare residentsand conductbusinessin thisDistrict.

    rù FA C TU A L A LLE G ATIO N S
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    DefendantO rlando VIER A-BLA NCO On M ay 24,2024,DefendantOrlando
    VIERA-BLAN CO published aTwitterthread revealing the identitiesofPlaintiffs
    in case 1:23-CV-00989-JLH,despiteacourtordersealing such identities(except
    fortwoofthePlaintiffswhohadwaivedsuch privilege).Thepup oseofthe
    action ofDefendantVIERA-BLANCO w asto harassPlaintiffsand expose their
    lifesto risk in a1lsenses.The broadcasting ofthenam esofPlaintiffs exposed
    Plaintiffsto signitk antdanger,including threatsto theirlivesand freedom ,and
    forced som eofPlaintiffsinto hiding.The inform ation disclosed in the Twitter
   thread by VIERA-BLAN CO included detailsthatwere sealed by courtorder. The
    recklessbehaviorofD efendantshascaused irreparable harm to Plaintiffs,
    including tlzreats,harassm ent,and severee> otionaldistressand dam age.

    DefendantVIERA-BLAN CO amplified the dam aging disclosuresthrough social
    m edia accountsassociated w ith non-protitorganizationshe controls,increasing
    therisk to Plaintiffsby furtherdissem inating confidentialinform ation with actual
    m alice.D efendantVIERA-BLANCO isaw elleducated person,w ith thorough
    knowledge of1aw and the consequencesofhisactions.The socialm edia account
    ofVen America(Venezolanosy Americanos,Inc;aFloridaCorporation);
   presided by Orlando VIER A-BLAN CO broadcasted and am pliled the dam aging
    statem entsofVIERA-BLAN CO through theVenAm erica socialm edia accounts.
    A tthism om entPlaintiffs do notasserta specitic responsibility on any other
    principal,director,the corporate entities,orsim ilar of ofthe corporations w hose
    accotmtsin X (formerly Twitter),lnstagram,etc.wereusedtoharm Plaintifssand
    arem anaged by D efendantV IERA-BLAN CO.
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    Evidence in possession ofPlaintiffsindicatethatDefendantVIERA-BLAN CO
    actedin combinationwithDefendantCARRASQUERO toorganizeand conduct
    theseactivitiesin ordertojeopardizeanumberoflegalproceedingsintheUnited
    States,headed by Plaintiffs.

    DefendantG ustavo LM NETTE broadcasted through socialm edia anum berof
    professionally produced defam atory videosand othercontentagainstPlaintiffs
    and amplified the dam aging videostllrough socialm ediaaccotm tsassociated
    w ith non-protitorganizations he controls,increasing the risk and dam ages to
    Plaintiffsby furtherdissem inating dam aging inform ation w ith actualm alice and
    recklessdisregard forthetruth. The socialm edia accountsof Resistencia
    Venezolana,an inactive corporation incorporated in Florida, founded and
    presided by D efendantGustavo LA INETTE broadcasted and am plitied the
    dam aging statem entsofLAINETTE through the ResistenciaVenezolanasocial
    m ediaaccounts.

   Evidence in possession ofPlaintiffs indicate thatD efendantLA INETTE acted in
   combination with Defendants CARRASQUERO and VIERA-BLANCO to
   organize and conductthese activities in order to jeopardize a num ber of legal
   proceedingsin theUnited States,headed by Plaintiffs.
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   Defendant Jose Vicente CARRASQUERO, a Florida resident, broadcasted
   defam atory statem ents that violated Plaintiffs' privacy through social m edia,
   including revealing theirm igration statusand identitiesin violation ofcourtorders,
   broadcasted tlzrough socialm edia a num berofprofessionally produced defam atory
   videos against Plaintiffs, a11 in a coordinated eflbrt to harm the reputation of
   Plaintiffsand the ongoing advocacy and litigation in FederalCourtsby defam ation
   ofPlaintiffs.Defendant CARRASQUERO is a specialistin politicalcampaigns
   and holds a PhD in a related field. Defendant CARRASQUERO used his
   know ledge to coordinate a sm ear campaign againstPlaintiffsand 1ed the actionsof
   said crim inal group. This reckless disclosure exposed Plaintiffs to severe risks,
   including tlzreats to their lives and freedom , property dam age, physical and
   psychological dam age and the need to go into hiding due to credible threats in
   Venezuela. Evidence in possession of Plaintiffs indicate that D efendant
   CARRASQUERO was presumably hired and paid by foreign entity to organize
   and conducttheseactivitiesin ordertojeopardizeanumberoflegalproceedingsin
   the United States,headed by Plaintiffs.


   DefendantsJohn Doe 1(@ douglasarrecho);Jolm Doe2(@ lucioquincioc);John
   Doe3(@turgelles);Jolm Doe5t@ zurichtg4l;John Doe6(@beatrizgarcia);John
   Doe7 (@ linocanillol;collectively Kt-l'
                                         heDoeDefendants''published,broadcasted
   orcreated anum berofdam aging broadcastsand publications sim ultaneously,
   sim ilaroridenticalto those ofthe know n D efendants.

   A 11Defendantsacted in a coordinated m annerin al1theseactions.The defam atory
   statem entsm adeby Defendantswerefalseand m ade with actualm alice,as
   Defendantsknew and recklessly disregarded thetruth.
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   TheJohnDoe4 (Leaker)Defendantprovided information sealedbycourtorderto
   DefendantsW ERA-BLANCO,LAW ETTE andCARRASQUERO in ordertobe
   dissem inated.

   Asa directresultofDefendants'wrongfuland defam atory actions,Plaintiffshave
   suffered signiticantharm ,including dam age to theirreputations,em otional
   distress,threatsto theirsafety and otherdafnages.Allthese dam ageshavebeen
   suffered by thefam iliesofPlaintiffsaswell.

   K C A U SE S O F A C T IO N

   C O U N T 1:V IO LA TIO N O F TH E R AC K E TEER IN FLU EN C ED A N D
   CORRUPT ORGANIZATIONS ACT (R1CO) 18U.S.C.jj1961-1968

   Plaintiffsincop orateby reference a11preceding paragraphsasiffully setforth
   herein.

   D efendants engaged in a pattern ofracketeering activity,including acts offraud
   andobstruction ofjustice,in violation of18U.S.C.jj 1961-1968.

   D efendantsacted with theintentto harm Plaintiffs'reputationsand wellbeing,
   targeting Plaintiffsto interfere w ith their ongoing legalproceedings.

   Through coordinated efforts,Defendantsconspired to defam e,intim idate,and
   obstructjustice,a1lin furtheranceofaschemetounderminejudicialprocesses
   involving Plaintiffs.
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   Plaintiffshave suffered and continueto suffersubstantialharm ,including
   reputationaldam age,em otionaldistress,and com prom ised safety,asadirectresult
   ofD efendants'actions.

   C O U N T II:V IO LAT IO N O F TH E FED ER AL W IR E FR A U D STA TU T E 18
   U.S.C.j 1343

   Plaintiffsincorporate by referencea1lpreceding paragraphsasiffully setforth
   herein.

   Defendantsknow ingly used electronic com m unications,including socialm edia
   platform sand em ail,aspartofa schem eto harm and defraud Plaintiffs,in
   violationof18U.S.C.j 1343.

   B y dissem inating false and m alicious inform ation,D efendantsintentionally caused
   harm to Plaintiffs'reputations,security,and ongoing advocacy efforts.

   Plaintiffshave suffered m easurableharm asa directconsequence ofDefendants'
   schem e.

   C O U N T 111:V IO LA TIO N O F TH E C O M M U M C ATIO N S D E C EN C Y A C T
   (CDA)47 U.S.C.j 230

   Plaintiffsincorporateby reference al1preceding paragraphsasiffully setforth
   herein.

   Defendantsused socialm ediaplatformsto dissem inate false and defam atory
   statem ents,targetingPlaintiffswiththeintenttoharm,in violation of47U.S.C.j
   230.
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   Although the CDA providessom eim munity foronline platfprm s,itdoesnot
   protectindividualswho m aliciously use theseplatformsto dissem inatedefam atory
   content.


   D efendants'actionsdirectly resulted in reputationaland em otionalharm to
   Plaintiffs.


   COUNT IV:CONSPIRACY TO VIOLATE CIVIL RIGHTS 42U.S.C.j
   198542)

   Plaintiffsincop orateby reference a11preceding paragraphsasiffully setforth
   herein.

   D efendantsconspired to deprive Plaintiffsoftheircivilrights,including rightsto
   privacy,security,andfreedom from harassment,inviolation of42U.S.C.j
   198542).

   D efendantsacted with theintentto intim idateand interfere with Plaintiffs'
   participation in legalproceedings,using tlzreatsand coordinated effortsto obstruct
   Justlce.

   A s a directresultofD efendants'conduct,Plaintiffs suffered significantharm ,
   including em otionaldistress,reputationaldam age,and tlzreatsto theirsafety.

   C O U N T V :TA M PER IN G W ITH A N D R ETA LIATIO N A G A IN ST W C TIM S
   18U.S.C.jj 1512,1513

   Plaintiffsincorporateby referenceal1preceding paragraphsasiffully setforth
   herein.
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   Defendantsengaged in tampering and retaliatory actionsin violation of18 U .S.C.
   j 1512 (Tamperingwith aW itness,Victim,orlnformant)by intimidating Plaintiffs
   to preventtheirparticipation in legalproceedings.


   Defendantsfurtherviolated 18U.S.C.j 1513 (RetaliationAgainstaW imess,
   Victim,orInformant)by retaliatingagainstPlaintiffsfortheirlegaladvocacy,
   disclosing sealed information to causeharm .

   Plaintiffs suffered substantialharm,including tlzreats,em otionaldistess,and
   reputationaldam age,asaresultofD efendants'actions.

   COUNT VI:W TERSTATE STALM NG 18 U.S.C.j2261A

   Plaintiffsincprporateby reference a11preceding paragraphsasiffully setforth
   herein.

   D efendants'actions constitute cyberstalking and harassm entacross state linesin
   violation of18U.S.C.j2261A.

   Defendantsused electronic com municationsand socialm ediato engage in a course
   ofconductthathascaused Plaintiffsem otionaldistressand reasonablefearfor
   their safety.

   Plaintiffscontinueto sufferpsychologicalharm and distressasa direct
   consequence ofDefendants'actions.


   COUNT VlI:DEFAG TION (LIBEL AND SLANDER)
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   Plaintiffsincorporate by referencea11preceding paragraphsasiffully setforth
   herein.

   Defendantsm ade false and defam atory statem entsaboutPlaintiffs,both in writing
   (libel)andorally (slander),withtheintenttodamagePlaintiffs'reputations.

   These statem entsw erebroadcasted and published to third partiesthrough various
   channels,including socialm ediaand otherm ediaplatform s,reaching a wide
   audience.

   D efendantsacted with actualm alice,knowingly publishing false inform ation w ith
   recklesy disregard forthe truth.

   Plaintiffsand theirfam ilieshave suffered significantharm ,includingreputational
   dam age,em otionaldistress,and tllreats to theirsafety.


   PursuanttoFloridadefamation1aw (FloridaStatutesj770.01etseq.),Plaintiffs
   notified Defendantsby certified m ail,em ail,and otherm eans,dem anding
   retraction ofthe defam atory content.D efendantsfailed to com ply,thereby entitling
   Plaintiffsto compensatory and punitivedam ages.

   C O U N T V III:IN TEN TIO N A L G FLIC TIO N O F EM O TIO N A L D ISTR ESS
   (1IEDI

   Plaintiffsincorporate by referencea11preceding paragraphsasiffully setforth
   herein.
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   UnderFloridalaw,IIED claim srequireoutrageousconductthatgoesbeyond a11
   botm dsofdecency.Defendants'actionsin publicly disclosing Plaintiffs'private
   and sealed inform ation m eetthisstandard.

   D efendantsacted intentionally orrecklessly,know ing thattheiractionsw ould
   cause Plaintiffssevere em otionaldistress.

   Plaintiffshave endured severepsychologicalsuffering asaresultofDefendants'
   conductand seek compensatory dam agesforthisharm .

   CO UN T IX :BR EACH OF FIDUCIARY DUTY

   Plaintiffsincorporateby reference a11preceding paragraphsasiffully setforth
   herein.

   DefendantJohn Doe4 held atiduciary duty to Plaintiffs,obligated to m aintain
   confidentiality and actin Plaintiffs'bestinterests.

   Defendantsbreached thisduty by disclosing confidentialand sealed inform ation,
   violating theirduty ofloyalty and confidentiality.

   A s a result,Plaintiffs have suffered directharm ,including reputationaldam age,
   fnancialharm ,and loss oftrust,for w hich they seek com pensatory and punitive
   dam ages.


   COUNT X:INVASION OF PRW ACY (PUBLIC DISCLOSURE OF
   PRW ATE FACTS)
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   Plaintiffs incorporate by reference a11preceding paragraphs as iffully setforth
   herein.

   D efendantspublicized private,non-public information aboutPlaintiffs,including
   sealed courtdocum ents,w ithoutany legitim ate public interest.


   Thedisclosurewashighly offensiveandunjustifiable,asitinvolved sensitiveand
   protected information.

   Plaintiffssuffered reputationaldam age,em barrassm ent,and otherpersonalharm as
   a resultofthisinvasion ofprivacy,and they seek compensatory dam ages.

   C O U N T M :N E G LIG E N C E

   Plaintiffsincop orateby reference a11preceding paragraphsasiffully setforth
   herein.

   D efendants,particularly John D oe 4,ow ed a duty ofcare to protectthe
   confidentiality ofPlaintiffs'sealed inform ation,asrequired by both legalstandards
   and couftorders.

   Defendantsbreached thisduty by disclosing confidentialinform ation w ithout
   autiorization,violatingtheprotectivem easuresinplace.

   Plaintiffshave suffered econom ic losses,reputationaldam age,and em otional
   distressdue to D efendants'negligence,and they seek com pensatory dam agesfor
   these harm s.


   V II.JU RY TR IA L D E M A N D
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   Pursuant to the provisions of FR CP Rule 38.R ightto a Jury Trialand ofFlorida
   Rules CivilProcedure Super.Ct.38 and 39,Plaintiffs form ally m ake thisdem and
   and application forajurytrialin thislawsuit.Plaintiffshereby demandtrialbyjury
   for a1lcauses of action,claim s or issues in this action w hich are triable as a m atter
   ofrighttoajtuy

   V1II.PR AYER FO R RELIEF


   W HEREFORE,Plaintiffsrespectfully requestthatthisCourtgrantthe following
   reliefforeach cause ofaction,PlaintiffsrequestthatthisCoul'tgrantthefollowing
   relief:


   V I.D A M A G ES
   Plaintiffshereby adoptand incorporate by reference each and every allegation and
   paragraph above asiffully setforth herein.Defendants'actionsand om issions,as
   described above,haveproximately caused injuriestoPlaintiffs,entitlingPlaintiffs
   to recoverreasonable and appropriate com pensation,as follow s:

   A .C om pensatory D am ages


   Plaintiffs seek com pensatory dam ages in an am ountto be determ ined attrial,
   including butnotlim ited to the follow ing:
      1. E m otionalD istress and M entalSuffering:
                Recovery forpastand future em otionaldistress,pain,and suffering
                resulting from Defendants'actions.
      2.ReputationalH arm :
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                                                                                20


               Damagesforinjuryto Plaintiffs'personalandprofessionalreputation
               caused by Defendants'defam atory statem ents.
      3. LostW ages and Earning Capacity:
               Recovery forlostw ages,dim inished earning capacity,and any
               im pairmentto professionalopportunities.


      4.M edicalExpenses'
                        .
               Recovery forpastand future expensesrelated to psychological
               treatm ent,therapy,and otherm edicalcostsassociated with em otional
               and psychologicalharm .


      5. Securitp Related Expenses:
               Costsincurred forpersonaland fam ily security m easuresin response
               to threatsarising from D efendants'disclosures.


      6.Pecuniary Loss:
               D am agesforharm to Plaintiflk'businessinterests,professional
               activities,and advocacy w ork.
   B .D efam ation and R eputationalH arm
   Plaintiffs seek dam agesfordefam ation,including:


      1. H arm to R eputation and Privacy:
               Compensation forinjurytoPlaintiffs'reputation,privacy interests,and
               professionalactivities.


      2.Personaland ProfessionalStanding:
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                  Recovery forinjury toPlaintiffs'standing inperspnaland professional
                  contexts.


   C .SpecialD am ages

   Plaintiffsseek specialdam ages,including'
                                           .


   (a)Pastand ftzturemedicalexpenses;
   (b)Pastand futurephysicalpain andmentalanguish;
   (c)Pastand futurephysicalimpairment;
   (d)Pastlostwagesandfuturelostwage-eaming capacity;
   (e)Pastand futurepecuniarylosses;
   (9 Attorneys'feesand administrativeexpensesassociatedwith litigation.

   D .Pre-ludgm ent and Post-ludgm entlnterest

   Plaintiffsrequestpre-judgmentandpost-judgmentinterestatthestamtoryrate,or
   asotherwise setby the Court.
              '
              ,




   E .Punitive D am ages
   Plaintiffsseek punitive dam agesto penalizeDefendantsforwillful,m alicious,and
   reckless conduct,particularly in m aking and dissem inating defam atory statem ents
   and infringing Plaintiffs'privacy and security interests.Plaintiffs assertthat
   exem plary dam agesshould notbe capped,in accordancewith Florida law.


   F.E xem plary and Treble D am ages:
                  Plaintiffsseek exem plary dam agesunderFloridalaw,asserting that
                  statutory capson punitive dam agesdo notapply to thiscase.
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                                                                                  22


               Trebledam agesarerequested underapplicable federalstatm esand
               com m on law,whereperm itted,including butnotlim ited to:
                     R ICO :Trebledam agesunderthe Racketeerlnfluenced and
                     ConuptOrganizationsAct(18U.S.C.jj 1961-1968)for
                     D efendants'pattem ofracketeering activity;
                     CivilRightsConspiracy:Damagrsunder42U.S.C.j 1985 for
                     conspiracy to violatePlaintiffs'civilrights;
                     Comm unicationsDecencyAct:Dam agesunder47U.S.C.j
                     230 forintentionaldissem ination ofdefam atory content;
                     W ireFraud Statute:Damagesunder18U.S.C.j 1343for
                     D efendants'electronic m eansto perpem atefraud.


   G.InjunctiveRelief
   PlaintiffsrequestthattheCourtissuean injunction:

      1. Prohibiting D efam atory Conduct:
               EnjoiningDefendantsfrom furtherdefam atorypublicationsand
               ordering rem ovalofa1ldefam atory and dam aging contenton m edia
               platform sunderDefendants'control.


      2. Privacy Protections'
                            .
               Enjoining Defendantsfrom disclosingPlaintiffs'sealedor
               confdentialinform ation.


      3. Protection from H arassm ent:
              Enjoining Defendantsfrom makingtlzreats,harassment,and
               intim idation againstPlaintiffs tlzrough online or otherm eans.
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                                                                                    23




      4.PublicR etraction:
               Requiring Defendantsto issueapublicretraction ofthe defam atory
               statem entsm ade aboutPlaintiffs.

   H .Preservation of C onndentiality

   Plaintiffsrequestthatthe Courtpreserve the confidentiality ofPlaintiffs'sealed
   identitiesin ongoingjudicialproceedingsandprohibitanyunauthorizeddisclosure
   ofsuch identities.

   1.A ttorneys'Fees and C osts

   Plaintiffsseek reasonableattorneys'fees,courtcosts,and litigation expenses,as
   perm itted by RICO and otherapplicable statutes.

   J.A dditionaland O ther R elief

   Plaintiffsrequestany additionalreliefto which they m ay be entitled underfederal
   and Florida law,including butnotlim ited to:


      1. Statutory and Com m on Law Dam ages:
               Any additionaldam agesallow ed underFlorida law,including
               tm capped exem plary dam ages.


      2. Further R elief:
               Any reliefdeemedjust,equitable,andproperunderthecircllmstances
               by thisCourt.


   lX .D EM A N D FO R JU RY TR IAL
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                                                                                       24




   Plaintiffsrespectfully demand atrialbyjuryona11issuestriableundertheFederal
   RulesofCivilProcedure and theFloridaRulesofCivilProcedttre.


   X .C E RT IFIC AT IO N A N D C LO SIN G
   UnderFederalRuleofCivilProcedure 11,by signing below,Plaintiffscertify to
   thebestofourknowledge,information,andbeliefthatthiscomplaint:(1)isnot
   being presented foran im properpup ose,such asto harass,causeunnecessary
   delay,orneedlessly increasethecostoflitigation;(2)issupportedby existing 1aw
   orby anonfrivolousargum entforextending,m odifying,orreversing existing law ;
   (3)thefactualcontentionshaveevidentiary supportor,ifspecifically soidentified,
   w illlikely have evidentiary supportafterareasonable opportunity forfurther
   investigationordiscovery;and (4)thecomplaintotherwisecomplieswith the
   requirem entsofRùle 11.
   Plaintiffs agree to provide the Clerk's O ftice w ith any changes to the address w here
   case related papers m ay be served. Plaintiffs understand that failure to keep a
   current address on file w ith the Clerk's O ffice m ay resultin the dism issalof the
   Case.

   Respectfully subm itted on the27th ofOctober,2024,
                                                        Ivan R.FREITES C
                                                        Pro se
                                                        % Villasana
                                                        4370 N W 107 Ave
                                                        A pt 102
                                                        D oral33178
    Plaintiffs                     Address               Signature
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                                                                                   25



    IvanR.FREITESc.                                     > > F JG &
    GuillermoZAURAGA                                Cmvlllen.w '> g.- .
    EladioMATA                     % Villasana                           H rL
    G ustavo R O D R IG U E Z   4370 N W 107 Ave                    '
    Jose W LLA SA N A               A pt 102                        ,        jw
                                                        =w X        !h      G
    CarlosMARQUEZ
    Juan M A RTIN E Z
                                   Doral33178                        g..,

                                                    *   )


    JesusCARRTLLO               % Rodriguez                 4w ..M '
    MiguelE.OTERO               Eichholxstrasse2            .
                                                                k* .hp
                                                                ,
                                                                            ym .
    JorgeAlejandro              6312 -steinhausen       .. hgLJw.
                                                                /
    R O D R IG U EZ
